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                   EXHIBIT 7
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                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division


   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUNIZ, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, THOMAS BAKER and JOHN
   DOE,

                                 Plaintiffs,
   v.

   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
                                               Civil Action No. 3:17-cv-00072-NKM
   ALEX FIELDS, JR., VANGUARD
   AMERICA, ANDREW ANGLIN,
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSELY,
   IDENTITY EVROPA, MATTHEW
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS, LEAGUE
   OF THE SOUTH, JEFF SCHOEP, NATIONAL
   SOCIALIST MOVEMENT, NATIONALIST
   FRONT, AUGUSTUS SOL INVICTUS,
   FRATERNAL ORDER OF THE ALT-
   KNIGHTS, LOYAL WHITE KNIGHTS OF THE
   KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,

                                Defendants.




        NOTICE OF DEPOSITION OF DEFENDANT NATIONALIST FRONT
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        PLEASE TAKE NOTICE that pursuant to Rule 30(b)(6) of the Federal Rules of Civil

 Procedure, Plaintiffs, by and through their undersigned counsel, will take the deposition upon oral

 examination of Defendant Nationalist Front (“NF”) at 9:30 a.m. on Friday, July 24, 2020, and

 continuing from day to day until completed. The deposition will take place before a Notary Public

 or other person authorized by law to administer oaths. The deposition will take place via

 videoconference, as agreed upon by the parties, or at such other location, date, method, and time

 as may be mutually agreed upon by the parties. The deposition will be recorded by stenographic

 means, and will be videotaped. The deposition will be taken for the purposes of discovery and all

 other purposes permitted by the Federal Rules of Civil Procedure

        NOTICE IS FURTHER GIVEN that, pursuant to Rule 30(b)(6) of the Federal Rules of

 Civil Procedure, NF shall designate one or more officers, directors, or managing agents, or other

 persons to testify on its behalf with respect to the matters designated in Attachment “A” hereto.

 Pursuant to Rule 30(b)(6), the person(s) so designated shall be the most qualified to testify on NF’s

 behalf regarding the matters identified in Attachment A.




 Dated: June 25, 2020

                                                       /s/ Jessica E. Phillips
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                                                       Jessica E. Phillips (pro hac vice)
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                                              EXHIBIT A

        In accordance with Federal Rule of Civil Procedure (“FRCP”) 30(b)(6), Plaintiffs designate

  the matters identified below for examination.        In construing these topics, the following

  instructions and definitions shall apply:

 Definitions

        1.      “Amended Complaint” means the Second Amended Complaint filed in the above-

 captioned litigation as ECF No. 557.

        2.      “Communication” means, in addition to its customary and usual meaning, every

 contact of any nature, whether documentary, electric, written, or oral, formal or informal, at any

 time or place and under any circumstances whatsoever whereby information of any nature is

 transmitted or transferred by any means, including but not limited to letters, memoranda, reports,

 emails, text messages, instant messages, social media postings, telegrams, invoices, telephone

 conversations, voicemail messages, audio recordings, face-to-face meetings and conversations,

 and any other form of communication or correspondence. Without limiting the foregoing in any

 manner, commenting as well as any act of expression that is not directed at a specific person, or

 otherwise may not be intended to provoke a response (such as social media posting, “likes,”

 “shares,” or any other form of reacting to another’s use of Social Media), are forms of

 communication.

        3.      “Concerning” means, in addition to its customary and usual meaning, relating to,

 pertaining to, referring to, alluding to, confirming, constituting, comprising, containing,

 commenting upon, responding to, discussing, describing, embodying, evaluating, evidencing,

 identifying, in connection with, involving, mentioning, noting, pertaining to, probative of, related




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 to, relating to, reflecting, referring to, regarding, setting forth, supporting, stating, showing,

 touching upon, dealing with, assessing, recording, bearing upon, connected with, in respect of,

 about, indicating, memorializing, proving, suggesting, having anything to do with, contradicting,

 and summarizing in any way, directly or indirectly, in whole or in part, the subject matter referred

 to in the Deposition Topic.

        4.       “Document” or “Documents” means documents broadly defined in FRCP Rule 34,

 and includes (i) papers of all kinds, including but not limited to, originals and copies, however

 made, of letters, memoranda, handwritten notes, notebooks, messages, agreements, rough drafts,

 drawings, sketches, pictures, posters, pamphlets, publications, news articles, advertisements, sales

 literature, brochures, announcements, bills, receipts, credit card statements, and (ii) non-paper

 information of all kinds, including but not limited to, any computer generated or electronic data

 such as digital videos, digital photographs, audio recordings, podcasts, Internet files (including

 “bookmarks” and browser history), online articles and publications, website content, electronic

 mail (e-mail), electronic chats, instant messages, text messages, uploads, posts, status updates,

 comments, “likes”, “shares”, direct messages, or any other use of Social Media, and (iii) any other

 writings, records, or tangible objects produced or reproduced mechanically, electronically, or

 photographically. Without limiting the foregoing in any way, every Communication is also a

 Document.

        5.      “Events” means the occurrences and activities described in Paragraphs 44 to 334 of

 the Amended Complaint.

        6.      “Person” means any natural person and/or any other cognizable entity, including

 but not limited to corporations, proprietorships, partnerships, joint ventures, and/or associations,

 whether formal or informal.


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        7.      “Social Media” means any forum, website, application, or other platform on which

 persons can create, transmit, share, communicate concerning, or comment upon any information,

 ideas, or opinions, or otherwise engage in social networking. Without limiting the foregoing in any

 manner, and by way of example only, the following are social media platforms: comment sections

 of websites, Facebook, Discord, Reddit, Imgur, SnapChat, Instagram, Google+, 4chan, 8chan,

 Twitter, Tumblr, YouTube, and instant messaging services such as Signal, WhatsApp, Messenger,

 Hangouts, or Skype. Without limiting the foregoing in any manner, and by way of example only,

 the following are methods of using social media platforms: uploading, posting, commenting,

 reacting (e.g., “liking” a post), and sharing.

        8.      “Social Media Handle” means the unique identifier (whether a name, nickname,

 user name, avatar, image, or otherwise) associated with a user of Social Media. A Social Media

 Handle includes, for example, your unique Discord user handle including a four-digit number at

 the end of that handle.

        9.      “You,” “Your,” or “Yours” refers to the Defendant(s) to whom the Deposition

 Topics are addressed and includes any persons or entities acting for them or on their behalf,

 including but not limited to all representatives, servants, agents, employees, officers, affiliates,

 subsidiaries, parent companies, third parties, attorneys, as well as any entities over which any of

 the Defendant(s) have control.

 Instructions

        A.      References to any natural person shall be deemed to include that natural person’s

 agents, servants, representatives, current and former employees, and successors.

        B.      References to any non-natural persons (e.g., corporation, partnership, entity,




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 membership organizations, etc.) shall be deemed to include that non-natural person’s predecessors,

 successors, divisions, subsidiaries, parents, assigns, partners, members, and affiliates, foreign or

 domestic, each other person directly or indirectly, wholly or in part, owned by, controlled by, or

 associated with them, and any others acting or purporting to act on their behalf for any reason, and

 the present and former officers, directors, partners, consultants, representatives, servants,

 employees, assigns, attorneys, and agents of any of them.

        C.      The use of the singular form of any word includes the plural and vice versa.

        D.      The use of the past tense includes the present tense and vice versa, as necessary to

 bring within the scope of each topic all responses that might otherwise be considered outside its

 scope. Whenever a term is used herein in the present, past, future, subjunctive, or other tense,

 voice, or mood, it shall also be construed to include all other tenses, voices, or moods.

        E.      The terms “and” and “or” should be construed either disjunctively or conjunctively

 as necessary to bring within the scope of the topic all information that might otherwise be construed

 to be outside of its scope.

        F.      The word “all” means “any and all”; the word “any” means “any and all.”

        G.      The term “including” means “including without limitation.”

        H.      The masculine includes the feminine and neutral genders.

 The deponent shall be prepared to address the following topics:

        1.      All steps taken by You to preserve, search for, collect, identify, produce, and

  withhold Documents in response to Plaintiffs’ discovery requests in this Action.

        2.      Your responses and objections to Plaintiffs’ Interrogatories, Requests for

 Production, and Requests for Admissions.


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        3.      Your Answer to the Amended Complaint (ECF No. 577), and all evidence

 supporting Your Answer.

        4.      Your organizational structure, including Your governance structure, and the

 identities, job titles, and responsibilities of any officers, employees, agents, and independent

 contractors employed by You.

        5.      Your membership structure, including the identities of all members, any

 membership lists, any titles, any requirements for membership, and any means of communicating

 with and among Your members.

        6.      Your members’ use of Social Media, including but not limited to Discord, and any

 of Your members who were directed, authorized, encouraged, or otherwise permitted to speak on

 behalf of You on any Social Media platform.

        7.      The Social Media Handle for any of Your members included in Your response to

 topic 6, including but not limited to Discord Social Media Handles.

        8.      The steps You took to prepare for the Events, including but not limited to planning

 the Events with outside organizations and any planning that occurred within Your organization,

 and any Communications relating to such planning, including but not limited to those relating to

 tactical, offensive, or defensive preparations for the Events.

        9.      Communications with Your members and members of outside organizations on

 May 13, 2017, before, during and after the Events.

        10.     Communications with Your members and members of outside organizations on

 July 8, 2017, before, during and after the Events.

        11.     Communications with Your members and members of outside organizations on

 August 11 and August 12, 2017, before, during, and after the Events.




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        12.     Your involvement in the Events, and actions You and Your members took while

 participating in the Events.

        13.     Communications with and Documents provided to or by Your members related to

 the Events.

        14.     Communications with and Documents provided to members of the media or the

 public and the creation and content of any blogs, websites, or social media accounts promoting

 Your organization in relation to the Events.

        15.     Any Communications after August 12, 2017 relating to the Events on August 11-

 12, 2017, including but not limited to Communications relating to the Event participants, the

 perceived success or failure of the Events, and the death of Heather Heyer.

        16.     Any Documents, or any Communications with Your members or members of

 outside organizations, relating to Your participation or nonparticipation, or the participation or

 nonparticipation of Your members, in Unite the Right 2.0.

        17.     Your involvement in events held on October 7, 2017 in Charlottesville, Virginia

 (known as “Charlottesville 3.0”), including but not limited to steps You took to plan or prepare for

 Charlottesville 3.0 within Your organization or with outside organizations, Communications with

 Your members or members of outside organizations concerning Charlottesville 3.0, and

 Documents provided to Your members or the media relating to Charlottesville 3.0.

        18.     Your finances, including but not limited to funding and fundraising efforts for the

 Events, Charlottesville 3.0, and the instant litigation.

        19.     All Documents reviewed in preparation for this deposition, including the

 identification and production of all Documents that refreshed the deponent’s recollection.

        20.     The identity of all Persons with knowledge about topics 1-19.




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 25, 2020, I served the foregoing upon the following counsel
 and pro se Defendants, via electronic mail, as follows:

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